
— Proceeding for an order directing the reinstatement of respondent to the position of special policeman in the city of Glen Cove, and for certain other relief. Order directing, a trial of the issues of fact affirmed, with ten dollars costs and disbursements. It is undisputed that the petitioner first became a member of the United States Army in May, 1919. Accordingly, he is not a World War veteran entitled to the veteran’s privileges granted by section 22 of the Civil Service Law. Triable issues remain as to whether or not the petitioner was validly appointed to a position in the competitive class of the city service, and, if so, whether or not his dismissal was valid. Hagarty, Adel, Taylor and Close, JJ., concur; Johnston, J., dissents and votes to reverse the order and to grant judgment on the pleadings in favor of appellants, on the ground that there is enough in this record to show conclusively that there was neither ratification nor confirmation of respondent’s appointment.
